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                            IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                      EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     )   1:09-cr-0272 OWW
                                                   )
10                             Plaintiff,          )
                                                   )   ORDER ON GOVERNMENT’S MOTION TO
11                                                 )   RECALL WARRANT
                                v.                 )
12                                                 )
     JOSE ROMAN-MONTES,                            )
13                                                 )
                               Defendant.          )
14                                                 )
                                                   )
15
             The United States of America, by and through Benjamin B. Wagner, United States Attorney,
16
     and Kathleen A. Servatius, Assistant United States Attorney, having moved to recall the warrant
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     previously issued in this case, and requesting the issuance of a new warrant, and good cause
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     appearing therefore,
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             IT IS HEREBY ORDERED that the warrant for Jose Roman-Montes, previously issued in
20
     this case, is recalled.
21
             IT IS FURTHER ORDERED that the Clerk’s Office for the Eastern District of California
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     shall issue a new warrant in the name of JOSE ROMAN-MONTES and shall not include an “AKA”
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     on the face of the warrant.
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     Dated: February 11, 2010                              /s/ OLIVER W. WANGER
26                                                         Senior United States District Judge
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